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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

UNITED STATES OF AMERICA,


v.                                         CASE NO. 8:16-CR-291-T-17TGW

EDWARD McKENZIE
GEORGE PERDIGON, JR.
GREGORY PHELPS
MICHAEL REGAN
JESSE GREER.
___________________________/


                                          ORDER


       This cause is before the Court sua sponte. This cause is set for trial on Tuesday,
October 11, 2016. The Court directs the Government and all Defendants to confer as to
proposed jury instructions and proposed verdict forms, and file the following by
Wednesday, October 5, 2016: 1) a package of jury instructions to which the
Government and each Defendant stipulate; 2) a separate package of the Government’s
proposed jury instructions to which each Defendant objects, if any; and 3) a separate
package of each Defendant’s proposed jury instructions to which the Government
objects, if any. If the parties agree on the verdict form, the parties shall file one
proposed verdict form. If the parties cannot agree, each party shall file a proposed
verdict form. Accordingly, it is


       ORDERED that the parties shall file their proposed jury instructions and verdict
form in accordance with this Order by Wednesday, October 5, 2016.
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      DONE and ORDERED in Chambers in Tampa, Florida on this 30th day of
September, 2016.




Copies to:
All parties and counsel of record




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